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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

  EDGAR COUNTY WATCHDOGS, INC,
  KIRK ALEN, JOHN KRAFT, and
  ALYSSIA BENFORD,
                                                         CASE NO.: 5:21-cv-302-JSM-PRL
            Plaintiffs,

  v.

  BONNIE KUROWSKI, IL REPORTER,
  LLC, A FLORIDA LLC, FIGHT FOR IL,
  INC. A FLORIDA NOT-FOR-PROFIT
  CORPORATION, and ERIK PHELPS,

            Defendants.
                                                 /


                 DEFENDANTS’ MOTION TO DISMISS COMPLAINT

            COME NOW, Defendants BONNIE KUROWSKI, IL REPORTER, LLC, FIGHT

  FOR IL, INC. and ERIK PHELPS, by and through their undersigned attorneys, and

  pursuant to Rule 12(b)(6), Fed.R.Civ.P., move this Court to dismiss the Complaint for

  failure to state a cause of action, and in support thereof say:

            1.      This case involves a political dispute between two advocacy groups.

  Plaintiffs claim that they are associated with an organization that uncovers political

  corruption, particularly with regard to the administration of public records. Defendants are

  alleged to be associated with a group which educates the public as to the true nature of

  Edgar County Watchdogs: to extort money from local government through bogus public

  records litigation and to promote far right candidates to take over those governments from

  within.
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         2.      Because we live in the Twenty-First Century, this political dispute plays out

  through Twenty-First Century media; that is, via the Internet, on websites and social

  media. 1

         3.      While Twenty-First Century technology provides the platform, it is the

  centuries-old First Amendment – and the statutes and case law developed to protect speech

  rights – which will control the outcome.

         4.      The Plaintiffs’ Complaint is defective on its face and is due to be dismissed

  for the following reasons:

         A.      Count I – Statutory Claim under §540.08 (Use of Likeness):

                 (1)     This claim does not state a cause of action under the statute because

  there is no plausible factual allegation that the Plaintiffs’ images were used for promotional

  purposes as opposed to targeting Defendants’ political activities. See, §540.08(4)(a), Fla.

  Stat.; See, also, Tyne v. Time Warner Ent. Co., L.P., 901 So.2d 802 (Fla. 2005).

                 (2)     The §540.08 claims derive from exactly the same publications

  which the Plaintiffs claim are defamatory. Florida’s single publication rule bars this cause




  1
   Plaintiffs apparently do not dispute the fact that this is a political dispute and that
  Defendants’ website is properly characterized as a political publication:

         72.     The statements in context demonstrate that the statements
         complained of herein are malicious with the intent to “shut down” ECW.
         And the purpose is not legitimate “reporting” because KUROWSKI
         acknowledges that the false statements on Defendants Website are posted
         for political reasons as KUROWSKI claims her website is a “political online
         site”.

  Doc. 1 at 17, ¶72).

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  of action. See, Callaway Land & Cattle Co., Inc. v. Banyon Lakes C. Corp., 831 So.2d 204

  (Fla. 4th DCA 2002).

            B.   Count II - Defamation

                 (1)     Plaintiffs do not allege compliance with §770.01, Fla.Stat. which

  requires written notice and an opportunity to retract as a condition precedent to maintaining

  this action. Defendants’ posts are clearly reports and political commentary intended to

  educate the public on matters of public concern. Under such circumstances, pre-suit notice

  is a condition precedent to maintaining this action. See, §770.01, Fla. Stat.; See, also,

  Orlando Sports Stadium, Inc. v. Sentinel Star Co., 316 So.2d 607 (Fla. 4th DCA 1975).

                 (2)     The allegations are excerpts taken out of context, not reproduced as

  exhibits to the Complaint and are not sufficient to permit a judge or jury to determine that

  the statements are defamatory.

            C.   Count III – Intentional Infliction of Emotional Distress

                 (1)     “Noose Flyer” The Complaint alleges that Defendant Kurowski re-

  posted a picture of a noose on “social media” which was “in relationship to BENFORD”.

  These allegations cannot support a claim for IIED for the following reasons:

                 (a)     As a matter of law, the “noose” and “Confederate flag” allegations

  do not rise to the level of outrageousness sufficient to support the tort. See, Vance v.

  Southern Bell Tel. & Tel. Co., 983 F.2d 1573 (11th Cir. 1993), cert. den., 513 U.S. 1155

  (1995).

                 (b)     Kurowski is not alleged to have circulated the original flyer and her

  republication “on social media” was not directed to Benford. Florida law does not support

  liability where a social media post is not actually sent to the subject. Compare, Horowitz

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  v. Horowitz, 160 So.3d 530, 531 (Fla. 2nd DCA 2015); Wright v. Norris, 320 So.3d 253,

  255 (Fla. 2d DCA 2021)

                 (c)     Kurowski is the only person alleged to have published the noose

  flyer on the Internet so that the Complaint must be dismissed as to the other three

  Defendants.

                 (2)     Allegations of “Adultery” - Accusations of adultery do not rise to

  the level of outrageousness unless directed to a vulnerable child concerning their parent.

                 (3)     The single publication rule bars this overlapping claim as a matter

  of law. See, Klayman v. Jud. Watch, Inc., 22 F.Supp. 3d 1240 (S.D. Fla. 2014).

         5.      There are no plausible factual allegations that Defendant PHELPS

  published any information concerning the Plaintiffs, defamatory or otherwise. There is a

  single reference to PHELPS’ association with the Defendant corporations and bare

  allegations that he published articles for those corporations. However, there is no allegation

  that PHELPS authored or published any of the specific articles complained of. Rather,

  Defendant KUROWSKI or the two Defendant corporations are alleged to be the

  responsible parties.

         6.      No part of the Plaintiff’s Complaint can survive this Motion to Dismiss.

         7.      LOCAL RULE 3.01(G) CERTIFICATION                        Undersigned counsel

  certifies that he has attempted repeatedly to confer with Plaintiffs’ counsel. In particular,

  the undersigned forwarded a copy of this Motion along with three (3) e-mails to Plaintiffs’

  counsel (9/21, 9/22 and 9/24). In addition, the undersigned called Mr. Hanlon’s office

  yesterday and left a detailed voice mail. Plaintiffs’ counsel has not responded to any of

  these inquiries.

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                                 MEMORANDUM OF LAW

  I.       Standard of Review.

           The general standards for evaluating a motion to dismiss are well known to the

  Court:

           To survive a motion to dismiss for failure to state a claim, a plaintiff must
           plead sufficient facts to state a claim that is “plausible on its face.” Ashcroft
           v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
           (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955,
           167 L.Ed.2d 929 (2007)). A claim is plausible on its face when a plaintiff
           “pleads factual content that allows the court to draw the reasonable
           inference that the defendant is liable for the misconduct alleged.” Id. When
           considering the motion, the court accepts all factual allegations of the
           complaint as true and construes them in the light most favorable to the
           plaintiff. Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008).

  Williams v. Cheatham,        F.Supp.3d , 2021 WL 2895743 at *1 (M.D. Fla. July 9, 2021).

  “A complaint that provides ‘labels and conclusions’ or ‘a formulaic recitation of the

  elements of a cause of action’ is not adequate to survive a Rule 12(b)(6) motion to dismiss.”

  Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012) quoting Twombly, 550

  U.S. at 555.


  II.      PLAINTIFFS CANNOT STATE A CAUSE OF ACTION UNDER §540.08
           BECAUSE THE PUBLICATIONS WERE NOT FOR PROMOTIONAL
           PURPOSES AND BECAUSE THE SINGLE PUBLICATION RULE BARS
           THE ACTION AS A MATTER OF LAW.

           In this case, Plaintiffs allege that the Defendants have vigorously challenged their

  self-proclaimed status as public watchdogs. Defendants have published reports and

  commentary claiming that the Plaintiffs abuse public records laws, bring vexatious

  litigation, hound public officials for extortionate or political purposes, disrupt public

  meetings, abuse their IRS status by engaging in political activities and that they recruit far-

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  right militia of the same sort as were involved in the January 6th attack on the Capitol.

  (Doc. 1 at 4, ¶18; 6, ¶26; 7, ¶29; 8, ¶35; 9, ¶41; 11, ¶54; 13-15, ¶62). Defendants IL

  Reporter, and Fight for IL produced a seminar open to the public where they commented

  extensively on Plaintiffs’ abuse of public records laws and the court system, their

  solicitation of far right supremacists to run for public office and smear campaigns directed

  against opponents (including vexatious litigation). (Doc. 1 at 13-15, ¶62). Various images

  of the Plaintiffs allegedly accompanied many of those stories and opinion pieces.

         It is certainly fair to say that the publications complained of were about the

  Plaintiffs. However, the text associated with the Plaintiffs’ images reported on their

  wrongdoing and political misadventures and did not involve advertising or commercial

  transactions like those contemplated by the statute. The best the Plaintiffs can do is to allege

  that Defendants’ website solicits financial contributions in connection with “an image of

  United States currency fanned out in a person’s hand.” (Doc. 1 at 19, ¶78). Notably, that

  particular image was not of any of the Plaintiffs nor did it suggest that the Plaintiffs

  endorsed Defendants’ mission or that they supported contributions to the websites.

  Plaintiffs’ conclusory statements that the publications were for a commercial purpose are

  not supported by the factual allegations and are insufficient to support a cause of action

  under §540.08, Fla.Stat.

         Section 540.08, Fla.Stat. creates a cause of action for wrongful use of likeness in a

  commercial setting where the use of someone’s image is intended to promote a product or

  falsely implies endorsement of the product. However, the statute does not apply merely

  because an image is used without consent by a for-profit business. Interestingly, this is an

  area of Florida law that was first advanced by the Federal Courts and only later adopted by

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  Florida state courts. Lane v. MRA Holdings, LLC, 242 F.Supp. 2d 1205 (M.D. Fla. 2002)

  is the leading precedent:

         The Defendants first argue that they are not liable under Fla. Stat. § 540.08
         because they did not use Lane’s image for trade, commercial, or advertising
         purposes. Under Fla. Stat. §540.08, the terms “trade”, “commercial”, or
         “advertising purpose” mean using a person’s name or likeness to directly
         promote a product or service. See Valentine v. CBS, 1213 Inc., 698 F.2d
         430, 433 (11th Cir. 1983) (recognizing that the proper interpretation of Fla.
         Stat. §540.08 requires the plaintiff to prove that the defendants used a name
         or likeness to directly promote a product or service); Tyne v. Time Warner
         Entm’t Co., L.P., 204 F.Supp.2d 1338 (M.D. Fla. 2002) (recognizing that
         Fla. Stat. §540.08 only prohibits the use of a name or image when such use
         directly promotes a commercial product or service); Epic Metals Corp. v.
         CONDEC, Inc., 867 F.Supp. 1009, 1016 (M.D. Fla. 1994) (“Florida Statute
         §540.08 prevents the unauthorized use of a name or personality to directly
         promote the product or service of the publisher.”); National Football
         League v. The Alley, Inc., 624 F.Supp. 6, 7 (S.D. Fla. 1983) (“Section
         540.08 of the Florida Statutes prohibit unconsented use of an individual’s
         name and likeness only when such directly promotes a commercial product
         or service”); Loft v. Fuller, 408 So.2d 619, 622 (Fla. 4th DCA 1981) (“In
         our view, Section 540.08, by prohibiting the use of one’s name or likeness
         for trade, commercial, or advertising purposes, is designed to prevent the
         unauthorized use of a name to directly promote the product or service of the
         publisher”).

                As a matter of law, this Court finds that Lane’s image and likeness
         were not used to directly promote a product or service. In coming to this
         conclusion, this Court relies upon Section 47 of the Restatement (Third) of
         Unfair Competition which defines “the purposes of trade” as follows:

                 The names, likeness, and other indicia of a person’s identity
                 are used “for the purposes of trade” ... if they are used in
                 advertising the user’s goods or services, or are placed on
                 merchandise marketed by the user, or are used in connection
                 with services rendered by the user. However, use “for the
                 purpose of trade” does not ordinarily include the use of a
                 person’s identity in news reporting, commentary,
                 entertainment, works of fiction or nonfiction, or in
                 advertising incidental to such uses.

                 Therefore, under this definition, the “use of another’s identity in a
         novel, play, or motion picture is ...not ordinarily an infringement ... [unless]


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         the name or likeness is used solely to attract attention to a work that is not
         related to the identified person...” Id. at comment c.

         In this case, it is irrefutable that the Girls Gone Wild video is an expressive
         work created solely for entertainment purposes. Similarly, it is also
         irrefutable that while Lane’s image and likeness were used to sell copies
         of Girls Gone Wild, her image and likeness were never associated with a
         product or service unrelated to that work. Indeed, in both the video and its
         commercial advertisements, Lane is never shown endorsing or promoting a
         product, but rather, as part of an expressive work in which she voluntarily
         participated. Consequently, in accordance with Section 47 of the
         Restatement, the use of Lane’s image or likeness in Girls Gone Wild, and
         in the marketing of that video cannot give rise to liability.

  Id. at 1212–13.

         The Florida Supreme Court expressly adopted Lane as the correct interpretation of

  Florida law in Tyne v. Time Warner Ent. Co., L.P., 901 So.2d 802, 807–08 (Fla. 2005)

  (“We agree with the reasoning of these decisions and Loft that the purpose of section

  540.08 is to prevent the use of a person’s name or likeness to directly promote a product

  or service because of the way that the use associates the person’s name or personality with

  something else. Loft, 408 So.2d at 622.”). Every subsequent case to have considered the

  issue has followed the same rule of law. See, e.g., Anderson v. Best Buy Stores L.P, 2020

  WL 5122781 at *2–3 (M.D. Fla. 2020), report and recommendation adopted sub

  nom. Anderson v. Coupons in News, 2020 WL 5106676 (M.D. Fla. Aug. 31, 2020) (“To

  accept Plaintiff’s view of the statute, would mean that every article Coupons published on

  its website with a photograph would run afoul of §540.08, because presumably, every

  article was published to further its business interests. This ’would result in substantial

  confrontation between this statute and the first amendment to the United States

  Constitution guaranteeing freedom of the press and of speech’ [quoting Tyne].

  Accordingly, Plaintiff has failed to allege plausible claims against Coupons for commercial

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  misappropriation in violation of Florida Statute § 540.08…”); Fuentes v. Mega Media

  Holdings, Inc., 721 F.Supp. 2d 1255, 1258 (S.D. Fla. 2010) (“To maintain a cause of action

  for a violation of section 540.08, a plaintiff must allege that his or her name or likeness is

  used to directly promote a commercial product or service, such as T-shirts, hats, coffee

  mugs, etc. … Plaintiff’s complaint merely states that Defendants published or displayed

  his name and home movies during a broadcast on Maria Elvira Live and on the show’s

  website without his consent.”); Faulkner Press, L.L.C. v. Class Notes, L.L.C., 756 F.Supp.

  2d 1352, 1360 (N.D. Fla. 2010) (“The statute is not violated when a person’s identity is

  used ‘in news reporting, commentary, entertainment, works of fiction or nonfiction, or in

  advertising incidental to such uses.’” [quoting Tyne]”).

         Count I fails to state a cause of action because it does not allege that Plaintiffs’

  images were used to promote Defendants’ products – or that Defendants even had a product

  to sell. Rather, this claim amounts to a clumsy effort to get around the constitutional

  protections afforded to speech and the statutory barriers to maintaining a defamation action.


  III.   THE SINGLE PUBLICATION RULE BARS THE §540.08, FLA.STAT.
         CLAIM BECAUSE THE INJURY ARISES FROM THE SAME
         PUBLICATIONS AS DOES PLAINTIFFS’ DEFAMATION ACTION

         Defamation is a constitutionalized tort around which a number of specialized rules

  have arisen. One of those doctrines is the “single publication” or “single action” rule. The

  intent of that rule is to prohibit litigants from “pleading around” the requirements for a

  defamation claim by alleging other torts which are not subject to the constitutional

  restrictions applicable to libel and slander. Where those other potential torts are factually

  rooted in the publication of a defamatory statement, the Court will not permit the assertion



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   of claims in addition to defamation. Put another way, when a defamation action is asserted,

   any other tort based on the same publication will be barred: 2

          “In Florida, a single publication gives rise to a single cause of
          action.” Callaway Land & Cattle Co. v. Banyon Lakes C. Corp., 831 So.2d
          204, 208 (Fla. 4th DCA 2002) (citation omitted). Consequently, “[t]he
          various injuries resulting from it are merely items of damage arising from
          the same wrong.” Id. (citation omitted). “The rule is designed to prevent
          plaintiffs from circumventing a valid defense to defamation by recasting
          essentially the same facts into several causes of action all meant to
          compensate for the same harm.” Gannett Co., Inc. v. Anderson, 947 So.2d
          1, 13 (Fla. 1st DCA 2006) (internal quotation marks and citation omitted).
          Pursuant to the rule, courts dismiss concurrent counts for related torts based
          on the same publication and underlying facts as the failed defamation
          count. See Ortega Trujillo v. Banco Cent. Del Ecuador, 17 F.Supp.2d 1334,
          1339–40 (S.D. Fla. 1998) (dismissing false light privacy claim arising from
          same allegedly defamatory publication); Fridovich v. Fridovich, 598 So.2d
          65, 70 (Fla. 1992) (“[T]he successful invocation of a defamation
          privilege will preclude a cause of action for intentional infliction of
          emotional distress if the sole basis for the latter cause of action is the
          defamatory publication.” (emphasis in original)).

                  When claims are based on analogous underlying facts and the causes
          of action are intended to compensate for the same alleged harm, a plaintiff
          may not proceed on multiple counts for what is essentially the same
          defamatory publication or event. See Kamau v. Slate, No. 4:11cv522–
          RH/CAS, 2012 WL 5390001, at *7–8 (N.D. Fla. Oct. 1, 2012) (allowing
          plaintiffs to amend their defamation claim, but dismissing counts for
          injurious falsehood and interference with business reputation because they
          relied on same event as defamation claim).




   2
     The defamation claim asserted in this case is legally deficient and must be dismissed.
   However, additional torts based on the same publication are subject to dismissal even in
   those cases where the defamation claim is viable. See, Happy Tax Franchising, LLC v.
   Hill, No. 19-24539-CIV, 2021 WL 3811041 at *6 (S.D. Fla. June 7, 2021), report and
   recommendation adopted sub nom. Happy Tax Franchising, LLC v. JL Hill Grp., LLC, No.
   19-24539-CIV, 2021 WL 3793050 (S.D. Fla. Aug. 26, 2021); See, also, Tymar Distribution
   LLC v. Mitchell Grp. USA, LLC, No. 21-21976-CIV, 2021 WL 4077966 at *8 (S.D. Fla.
   Sept. 8, 2021) (“The underpinnings of the single-action rule make clear that it does not
   matter whether the defamation claim fails, succeeds, or is not brought at all.”).

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   Klayman v. Judicial Watch, Inc., 22 F.Supp. 3d 1240, 1256 (S.D. Fla. 2014); See, also,

   Callaway Land & Cattle Co., Inc. v. Banyon Lakes C. Corp., 831 So.2d 204, 207–08 (Fla.

   4th DCA 2002) quoting Messenger v. Gruner + Jahr USA Publ’g, 994 F.Supp. 525, 531

   (S.D. N.Y. 1998) (“The rule is designed to prevent plaintiffs from circumventing a valid

   defense to defamation by recasting essentially the same facts into several causes of action

   all meant to compensate for the same harm.”); Tymar Distribution LLC v. Mitchell Grp.

   USA, LLC, No. 21-21976-CIV, 2021 WL 4077966, at *7 (S.D. Fla. Sept. 8, 2021) (“In

   reliance on the single-action rule, courts dismiss concurrent counts for related torts based

   on the same publication and underlying facts as a failed defamation count.”); Happy Tax

   Franchising, LLC v. Hill, 2021 WL 3811041 at *6 (“[T]he Single Publication/Single

   Action Rule… precludes a plaintiff from asserting multiple causes of action when they

   arise from the same publication upon which plaintiff’s defamation claim is based.”);

   Maletta v. Woodle, No. 2:20-CV-1004-JES-MRM, 2021 WL 1894023, at *6 (M.D. Fla.

   May 11, 2021) (“[T]he allegedly defamatory statements in the Cancer in our Resort Letter

   cannot form the basis for the conspiracy claim because they also form the basis for

   the defamation and defamation per se claims. Accordingly, the civil conspiracy claim

   violates Florida’s single action rule and Count Five will be dismissed as to each

   plaintiff.”).

           All of the publications Plaintiffs point to as supporting their §540.08 claims are also

   relied on to support their defamation claims. (Compare, Doc. 1 at 6-17, ¶¶26-65, 71-72

   with 18, ¶73 (incorporating all of the factual allegations to support the §540.08 claims).

   Accordingly, the single publication rule precludes the cause of action based on §540.08 as

   a matter of law.

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   IV.    THE COMPLAINT IS DEFICIENT BECAUSE PLAINTIFFS DID NOT
          SERVE THE REQUIRED §770.01 NOTICE PRIOR TO FILING SUIT.

          As a matter of public policy and constitutional necessity, the Florida Statutes

   require notice and an opportunity to retract before a defamation action may be brought See,

   generally, Rendon v. Bloomberg, L.P., 403 F.Supp. 3d 1269, 1273 (S.D. Fla. 2019)

   (“Florida Statutes Section 770.01 provides newspapers and publications with the

   ‘opportunity in every case to make a full and fair retraction,’ serving the ultimate purpose

   of protecting the free dissemination of news to the public.”); Mancini v. Personalized Air

   Conditioning & Heating, Inc., 702 So.2d 1376, 1378 (Fla. 4th DCA 1997) (The statutory

   scheme of the notice and retraction provisions upholds “the value of the American tradition

   of a free press.”). The statutory notice provision appears in §770.01, Fla. Stat.:

          Before any civil action is brought for publication or broadcast, in a
          newspaper, periodical, or other medium, of a libel or slander, the plaintiff
          shall, at least 5 days before instituting such action, serve notice in writing
          on the defendant, specifying the article or broadcast and the statements
          therein which he or she alleges to be false and defamatory. (emphasis
          added).

   Plaintiffs did not allege that they served the requisite notice and there is no notice attached

   as an exhibit to the Complaint. (Doc. 1, generally).

          A.      Statutory Notice is Required Pursuant to §770.01, Fla.Stat.

          There cannot be any doubt that a §770.01 pre-suit notice was required before

   Plaintiffs initiated this suit. Florida case law does not limit the statutory notice to

   “conventional” publishers such as newspapers or television stations. Rather, Florida Courts

   have recognized the shift of communications to the Internet and have taken a




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   correspondingly broad view of §770.01, holding that websites which publish news stories

   are protected by the statute to the same extent as old-style media:

          In Comins, we held that, under Ross, the “notice requirement of section
          770.01 applies to allegedly defamatory statements made in such a public
          medium, the purpose of which is the free dissemination of news or
          analytical comment on matters of public concern”. Comins, 135 So.3d at
          560. The allegations of the instant complaint sufficiently establish that
          Elsevier’s website is a public medium engaging in the free dissemination of
          information or disinterested and neutral commentary or editorializing on
          matters of public interest since the complaint alleges that Elsevier is an
          internet publisher of various purportedly scientific, technical, and medical
          journals and information.

   Plant Food Sys., Inc. v. Irey, 165 So.3d 859, 861 (Fla. 5th DCA 2015). Even an informal

   “blog” site has been held to be subject to §770.01 if the information is of public interest.

   See, Comins v. Vanvoorhis, 135 So.3d 545 (Fla. 5th DCA 2014) (Internet blog maintained

   by university student to comment on issues of public concern was entitled to §770.01 pre-

   suit notice); See, also, Buckley v. Moore, 20-CIV-61023-RAR, 2021 WL 3173185, at *6

   (S.D. Fla. July 26, 2021) (“TopSchools.org… falls squarely under Comins’s description of

   the type of blogs that constitute an “other medium” for purposes of section 770.01.”). 3

          Plaintiffs’ own Complaint confirms the fact that Defendants’ website, publications

   and conferences inform the public on Plaintiffs’ activities, report on public meetings and

   issues of public importance, and engage in political commentary regarding Plaintiffs’




   3
     It is also clear that the protection afforded by §770.01 is not limited to businesses engaged
   in publishing, but extends to the individual authors and publishers of those works. See,
   Mancini v. Personalized Air Conditioning & Heating, Inc., 702 So.2d 1376, 1378 (Fla. 4th
   DCA 1997) (“There is nothing in Ross to indicate that in using the term “newspaper” our
   supreme court was referring only to the entity as distinguished from the individual
   columnists, reporters and editorial writers who write for the newspaper.”


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   goals. 4 Plaintiffs claim to be public watchdogs. By the same token, it is clear that

   Defendants “watch the watchdogs” and vigorously question their actions and motives.

   While Plaintiffs claim that Defendants’ statements are false and defamatory, there is no

   question that the subject matter of their posts are newsworthy and of public interest. 5

          Plaintiffs allege that the edgarcountywatchdog.com website has published articles

   which “offer assistance to government officials” in the form of a “First Aid Kit for Elected

   Officials” (Doc. 1 at 4, ¶18; 6, ¶26). Elsewhere in the Complaint, Plaintiffs acknowledge

   that Defendants’ publications report on the Plaintiffs’ public activities, including

   submission of false or abusive FOIA requests, filing vexatious legal claims and soliciting

   right wing militia to disrupt elections. (Doc. 1 at 6, ¶26; 7, ¶29). Defendant Kurowski is

   alleged to have posted to Facebook accounts of Benford being found guilty after a lengthy

   investigation costing some $12,000 of taxpayer money. (Doc. 1 at 8, ¶35). Kurowski is also

   alleged to have reported that Plaintiffs are under Federal investigation for cyberstalking,




   4
     The Complaint is far from clear as to which Defendant published which statement. It
   appears that all or nearly all of the posts were allegedly made by Defendant Kurowski on
   Facebook or on a website which she registered. Defendant Phelps does not appear to have
   published anything; he is apparently named only because he is listed as an officer of the
   two corporate Defendants. Those two corporations are only mentioned in connection with
   a conference organized to publicize and throw light on the Plaintiffs’ activities. The
   Complaint violates Rule 8 and Rule 12 by failing to separate claims into separate counts
   and by naming all of the individual Defendants in all of the Counts even when it is clear
   that only one or a subset of the Defendants published anything.
   5
     There is no doubt that the public is interested in these matter. Plaintiffs are public figures
   who claim that their work has drawn the attention of the nation’s largest and most
   prominent media companies. (Doc. 1 at ¶¶1-5). Plaintiffs allege that one or more of the
   Defendants hosted a three-day seminar addressing Plaintiffs’ methods and operations.
   (Doc. 1 at 12-13). Plaintiffs claim to have suffered more than $85,000 in damages.
   Apparently, quite a number of people follow Defendants’ publications. (Doc. 1 at 3, ¶15).

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   that they were physically threatening at a meeting of the Township Trustees, that they

   intentionally “Zoom bomb” public meetings and that their IRS standing is in jeopardy

   because of Plaintiffs’ political activities. (Doc. 1 at 7, ¶29; 9, ¶41; 11, ¶54). Finally,

   Plaintiffs allege that Defendants IL Reporter, and Fight for IL conducted a public seminar

   which highlighted what they viewed as the Plaintiffs’ abuse of public records laws and

   their unsavory political activities. (Doc. 1 at 13-15, ¶62).

          Defendants, as the alleged publishers of these statements, were entitled to notice

   under §770.01 and the opportunity to correct or retract any inaccurate stories. See, Plant

   Food Sys., supra; Comins v. Vanvoorhis, supra; Buckle, supra.


   B.     Failure to Provide a §770.01 Pre-Suit Notice Requires Dismissal of Plaintiffs’
          Complaint.

          Florida law is clear regarding the consequences of the failure to give presuit notice:

   the action must be dismissed. Orlando Sports Stadium, Inc. v. Sentinel Star Co., 316 So.2d

   607 (Fla. 4th DCA 1975) is the foundational case on this point:

          We … direct our attention to appellees’ claim that the cause of action is
          insufficient due to appellants’ failure to serve the written notice requirement
          of Fla.Stat. 770.01 before instituting this libel action. A cause of action must
          exist and be complete before an action can be commenced or, as sometimes
          stated, the existence or non-existence of a cause of action is commonly
          dependent upon the state of facts existing when the action was begun. As a
          general rule the plaintiff may not be permitted to cure the defect of non-
          existence of a cause of action when suit was begun, by amendment of his
          pleadings to cover subsequently accruing rights, 1 Am.Jur.2d, Actions, Sec.
          58.
          …
                  With respect to appellants further argument concerning its
          compliance with the written notice requirement of Fla.Stat. 770.01
          subsequent to filing suit and the unconstitutionality of said requirements,
          we find the language of the Florida Supreme Court in Ross v. Gore, 48
          So.2d 412, to be fitting, i.e.:



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                   ‘As to plaintiff’s second question, he contends on this appeal
                   that, even in the absence of notice and a retraction, his suit
                   should not be dismissed, as it is still valid for the recovery of
                   actual damages; and that if the provision as to notice is
                   construed to be a condition precedent to suit, such provision
                   is unconstitutional. Neither of these contentions can be
                   sustained’.

   Id. at 610.

           Orlando Sports Stadium has been followed in every subsequent case. See, Skupin

   v. Hemisphere Media Group, Inc., 314 So.3d 353, 357 (Fla. 3d DCA 2020) (“Failure to

   comply with the notice provisions of section 770.01 requires dismissal of the complaint for

   failure to state a cause of action”); Mancini, 702 So.2d at 1377–78 (“Failure to comply

   with the notice provision of section 770.01 requires dismissal of the complaint for failure

   to state a cause of action.”); Rendon v. Bloomberg, L.P., 403 F.Supp. 3d 1269, 1273 (S.D.

   Fla. 2019) (“The statute and its supporting case law establish that written notice on the

   defendant is a condition precedent to a claim for defamation.”); Nelson v. Associated Press,

   Inc., 667 F.Supp. 1468, 1474–75 (S.D. Fla. 1987) (“Having failed to comply with §770.01,

   Plaintiff’s claim against AP must fail, since the statute is a condition precedent to her

   maintaining the suit.”); Intihar v. Citizens Info. Associates, LLC, 2014 WL 842464 at *3

   (M.D. Fla. 2014) (“Florida law is clear that “[f]ailure to comply with the notice provision

   of section 770.01 requires dismissal of the complaint for failure to state a cause of action.”).

           Case law is also clear that the defect cannot be cured by giving notice after suit is

   filed – there is no “relating back” to the filing date:

           Compliance with section 770.01, where necessary, is a condition precedent
           to maintaining an action, and one cannot satisfy the statute by providing
           notice subsequent to filing the complaint. Orlando Sports Stadium, Inc. v.
           Sentinel Star Co., 316 So.2d 607 (Fla. 4th DCA 1975). If the statute were
           applicable to Gifford’s action, amendment of the existing complaint would

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          not be authorized. Presumably, therefore, the circuit court dismissed the
          action without prejudice to refile rather than merely to amend.

   Gifford v. Bruckner, 565 So.2d 887, 888 (Fla. 2d DCA 1990), See, also, §770.01, Fla. Stat.

   (“Before any civil action is brought for publication or broadcast, in a newspaper,

   periodical, or other medium, of a libel or slander, the plaintiff shall, at least 5 days before

   instituting such action, serve notice in writing on the defendant.... (emphasis added). When

   amending a complaint would be futile, there is no need to allow another opportunity. See,

   Kalmanson v. Lockett, 848 So.2d 374, 381 (Fla. 5th DCA 2003). Accordingly, the

   Complaint must be dismissed without leave to amend.


   C.     The Factual Allegations are Too Sparse and Conclusory to State a Cause of
          Action for Defamation– Particularly when the Publications are not Attached
          as Exhibits and are Presented as Brief Excerpts without Context.

          The common law of defamation requires allegations and proof of these elements:

          (1) publication; (2) falsity; (3) actor must act with knowledge or reckless
          disregard as to the falsity on a matter concerning a public official, or at least
          negligently on a matter concerning a private person; (4) actual damages;
          and (5) statement must be defamatory.

   Jews For Jesus, Inc. v. Rapp, 997 So.2d 1098, 1106 (Fla. 2008); Parekh v. CBS Corp., 2020

   WL 3400679, at *3 (11th Cir. June 19, 2020) (Citing Jews for Jesus and reciting same

   elements). Where libel is at issue, good pleading practices demand that the publication be

   identified in the body of the complaint and that a full copy of the statement be attached as

   an exhibit. 6 The bare allegations found in the Complaint are not adequate because they




   6
     While it is foolish not to attach the statement as an Exhibit, it is not strictly necessary if
   the defamatory publication is fully described in the Complaint. Here, Plaintiffs fail at either
   alternative.

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   suffer from one or more of the following defects:

          A.      The excerpts from the posts and publications are presented out of context or

   are so brief that one cannot determine what the story is about or whether the alleged false

   statement is corrected or supported elsewhere in the publication. The District Court in

   Wardak v. Goolden, 2020 WL 9718811 at *9 (S.D. Fla. May 22, 2020) dismissed a similar

   defamation claim alleging a “smear campaign” for these very reasons:

          Wardak fails to allege sufficient facts regarding the publication of the
          alleged defamatory statements because he does not provide the full
          statements, including the relevant context in which the alleged statements
          that he was an “arms dealer” and “stalker” were made. Such a shortcoming
          is fatal to Wardak’s defamation claim. (citation omitted). Indeed,
          without specific allegations regarding the publication of these statements,
          the undersigned cannot weigh whether the alleged statements, even when
          viewed in the light most favorable to Wardak, are defamatory or the kind of
          opinion or hyperbole protected by the Constitution. (citation omitted).
          Given the sparsity of the allegations, and considering the relationship
          between the parties, the context is particularly important…

   Wardak v. Goolden, 2020 WL 9718811 at *9 (S.D. Fla. May 22, 2020); See, also, Rubin

   v. U.S. News & World Rep., Inc., 271 F.3d 1305, 1306 (11th Cir. 2001) (“A statement is

   not defamatory unless the “gist” or “sting” of the statement is defamatory. The gist of any

   statement within a publication or broadcast is found only by reference to the entire

   context.” (footnotes omitted)).

          Most of the statements either do not comment directly on the Plaintiffs’ character

   or are clearly part of a larger story and presented out of context:

          43. … “Edgar County Watchdogs is not an actual watchdog site. It prints
          stories based on assumptions made by what they can find on Google, their
          assumptions are never followed up, no supporting docs are posted unaltered,
          and if you disagree with them they will google you, write stories about your
          personal info, harass you, call your employer, and support corrupt
          politicians.” (Doc. 1 at 9, ¶43).


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   Some allegations focus on tiny discrepancies or technicalities that do not appear to be

   defamatory at all:

                  31. [S[he is NOT a FORENSIC auditor yet has done services,
          collected pay but not turned in the audits. Former Censured elected official,
          many losses, and reported to the professional Business Regulations of IL.

                32    Plaintiff BENFORD has never charged for audits not
          conducted… (Doc. 1 at 7-8, ¶¶31, 32).

   Other allegations are mere opinion – particularly fanciful opinion, at that:

                  50.     …. KUROWSKI posted a false statement on Facebook
          stating “[Benford and ECW] are “a team of domestic terrorists” and “Satan
          Alysisa (sic) aka ECW Terrorists”. (Doc. 1 at 11, ¶50).

   While other allegations are simply puzzling:

          40.     On or about December 9, 2020, KUROWSKI posted false statement
          on Facebook stating that KRAFT abused drugs “Maybe you should sleep
          instead of post on all those drugs” and also, as a Doctor she stated that Kraft
          was “medically insane”.

          42.     On or about December 15, 2020, KUROWSKI posted false
          statement to an article on the ECW website stating that “These men are
          awful men who hate women. They have affairs on their wives…”. (Doc. 1
          at 9, ¶¶40, 42). 7

          The allegations are especially inadequate because they are not accompanied by

   copies of the actual publications which would inform both content and context. Compare,

   Five for Ent. S.A. v. Rodriguez, 877 F.Supp. 2d 1321, 1328–29 (S.D. Fla. 2012) (“In one

   instance, Plaintiffs did not even attach the article containing the Baldiri’s statements... In

   the absence of the necessary facts - when the statements were made - and an adequate




   7
    “But merely tossing insults, as Respondent did in this case, is not defamation.” Logue v.
   Book, 297 So. 3d 605, 614 (Fla. 4th DCA 2020), review den., WL 276145 (Fla. Jan. 27,
   2021).

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   description of the statement the defamation claim as it related to Baldiri’s statement must

   be dismissed with leave to plead anew.”).

          B.      The actual publisher is often not identified. While the social media posts are

   all attributed to Defendant Kurowski, as is the “noose” publication, no one is specifically

   identified as the author or publisher of any the materials appearing on the website. See,

   Happy Tax Franchising, LLC v. Hill, 2020 WL 6946086 at *5 (S.D. Fla. 2020), report and

   recommendation adopted sub nom. Happy Tax Franchising, 2020 WL 6945935 at 5

   (“[T]he Second Amended Complaint fails to allege facts sufficient to attribute publication

   of the defamatory statements to any named Defendant….. These facts are insufficient to

   allege that every and all Defendants are responsible for the publication of the

   false statements.”); Five for Entm’t, 877 F.Supp. 2d at 1328 (“In a defamation case, a

   plaintiff must allege certain facts such as the identity of the speaker, a description of

   the statement, and provide a time frame within which the publication occurred.”)

          C.      Plaintiffs specify the dates when “social media” posts were made and also

   specify the date of the seminar put on by the corporate Defendants. However, they do not

   state when any of the website publications were made. (Doc. 1 at 6-8, ¶¶26-34). The failure

   to specify the date of publication is fatal to the pleading. See, also, Five for Ent., 877

   F.Supp. 2d at 1328 (“In a defamation case, ‘a plaintiff must allege certain facts such as the

   identity of the speaker, a description of the statement, and provide a time frame within

   which the publication occurred.’” (citation omitted; interior quotes omitted)).




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   III.   COUNT IV (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)
          FAILS TO STATE A CAUSE OF ACTION.

          The allegations concerning the “noose” flyer” and possible adultery cannot support

   a claim for intentional infliction of emotional distress as a matter of law. Those allegations

   would be barred in any event by the single publication rule. 8

          A.      THE STATEMENTS COMPLAINED OF ARE NOT SO
                  OUTRAGEOUS AS TO SUPPORT A CLAIM FOR INTENTIONAL
                  INFLICTION OF EMOTIONAL DISTRESS.

          The elements of a cause of action for intentional emotional distress are as follows:

          (1)     The wrongdoer’s conduct was intentional or reckless, that is, he
          intended his behavior when he knew or should have known that emotional
          distress would likely result;

          (2)   The conduct was outrageous, that is, as to go beyond all bounds of
          decency, and to be regarded as odious and utterly intolerable in a civilized
          community;

          (3)     The conduct caused emotional distress; and

          (4)     The emotional distress was severe.

   Stewart v. Walker, 5 So.3d 746, 749 (Fla. 4th DCA 2009).

          This Court is required to determine in the first instance, and a matter of law, whether

   a statement is objectively so outrageous as to permit a claim for intentional infliction of

   emotional distress:

          What constitutes outrageous conduct is a question that must be decided as
          a matter of law. De La Campa v. Grifols Am., Inc., 819 So.2d 940, 943 (Fla.
          3d DCA 2002) (“What constitutes outrageous conduct is a question for the
          trial court to determine as a matter of law.”) The plaintiff’s “subjective
          response” to the conduct “does not control the question of whether the tort


   8
    Count IV should clearly be separated into separate counts. The allegations concerning the
   “noose flyer” only concern Plaintiff Benford. It is uncertain which of the Plaintiffs
   complain about the inquiries concerning their marital fidelity.

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          of intentional infliction of emotional distress occurred.” Liberty Mut. Ins.
          Co. v. Steadman, 968 So.2d 592, 595 (Fla. 2d DCA 2007).

   Deauville Hotel Mgmt., LLC v. Ward, 219 So.3d 949, 955 (Fla. 3d DCA 2017); See, also,

   Nassar v. Nassar, 853 F. App’x 620, 622 (11th Cir. 2021) (“What constitutes outrageous

   conduct is a question that must be decided as a matter of law” (citing Deauville Hotel).

          The substantive standard for the tort focuses on whether the alleged actions are truly

   “intolerable in a civilized community”. See, Deauville Hotel, 219 So.3d at 955 (“As to the

   second element, for one’s actions to rise to the level of intentional infliction of emotional

   distress, it must be ‘so outrageous in character, and so extreme in degree, as to go beyond

   all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable in a

   civilized community.’ (citation omitted)); See, also, Gomez v. City of Doral, No. 1:20-CV-

   20389-JLK, 2021 WL 848867, at *4 (S.D. Fla. Mar. 5, 2021) (“Plaintiff has not plausibly

   alleged that the conduct of Defendants went ‘beyond all bounds of decency, and to be

   regarded as odious and utterly intolerable in a civilized community.’”); Myers v. Provident

   Life & Accident Ins. Co., 472 F.Supp. 3d 1149, 1182 (M.D. Fla. 2020) (Same). “Florida

   case law has consistently held that mere insults and indignities do not support a claim for

   the tort of intentional infliction of emotional distress.” Koutsouradis v. Delta Air Lines,

   Inc., 427 F.3d 1339, 1344–45 (11th Cir. 2005).

          The Eleventh Circuit has already determined that the display of a noose under far

   worse circumstances - and with additional aggravating factors – was not sufficient to

   support a claim for intentional infliction of emotional distress. See, Vance v. Southern Bell

   Tel. & Tel. Co., 983 F.2d 1573 (11th Cir. 1993); See, also, Lopez v. City of W. Miami,

   2015 WL 12990226 at *1 (S.D. Fla. 2015) (“Florida courts have consistently rejected


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   attempts to find intentional infliction of emotional distress based on verbal harassment,

   even where severe, or racial or sexual discrimination in the workplace.” (citation omitted)).

           Plaintiffs cite to Korbin v. Berlin, 177 So.2d 551 (Fla. 3rd DCA 1965) for the

   proposition that assertions of adultery or infidelity can be sufficient to support a claim for

   intentional infliction of emotional distress. Social mores in the mid-sixties were certainly

   different from the Internet era. The consensus of modern opinion is that accusations of

   adultery are not sufficient to state an IIED claim. See, e.g., Poston v. Poston, 112 N.C. App.

   849, 851, 436 S.E.2d 854, 856 (1993) (“We find that appellant’s allegation of adultery does

   not evidence the extreme and outrageous conduct which is essential to this cause of

   action”); Whittington v. Whittington, 766 S.W.2d 73, 74–75 (Ky. Ct. App. 1989) (“The

   emotional and financial distress caused by a spouse’s fraud and adultery may be very

   painful and difficult but does not necessarily implicate the tort of outrage.”).

           However, the age of the case is not the only reason why it fails to support Plaintiffs’

   claim here. The disclosure in Korbin was made to a young child and concerned emphatic

   comments about a parent’s infidelity. At least one other Court has noted that Korbin

   concerned a child of tender years and that the decision must confined to those facts. See,

   Sullivan v. Malta Park, 2014-0478 (La. App. 4 Cir. 2014), 156 So.3d 751, 761

   (Commenting that Korbin was “illustrative of the application of the vulnerable victim

   factor, albeit in the context of a child”). In addition, Plaintiffs allegations are equivocal: it

   appears that the author was inquiring as to Plaintiffs’ fidelity rather than asserting that one

   or more of the Plaintiffs was actually unfaithful to their spouse. (Doc. 1 at 8, ¶36).




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          B.      An IIED Claim Violates the Single Publication Rule where the same
                  Statements are Alleged to be Defamatory.

          The single publication rule applicable to torts in general applies to claims for

   intentional infliction of emotional distress as well:

          “In Florida, a single publication gives rise to a single course of
          action.” Ortega Trujillo v. Banco Cent. del Ecuador, 17 F.Supp. 2d 1340,
          1343 (S.D. Fla. 1998). “[A] plaintiff cannot transform a defamation action
          into a claim for intentional infliction of emotional distress simply by
          characterizing the alleged defamatory statements as outrageous.’” Fridovich
          v. Fridovich, 598 So.2d 65, 70 (Fla. 1992); see also Boyles v. Mid-Fla.
          Television Corp., 431 So.2d 627, 636 (Fla. Dist. Ct. App. 1983), approved,
          467 So.2d 282 (Fla. 1985).

   Rubinson v. Rubinson, 474 F. Supp. 3d 1270, 1278 (S.D. Fla. 2020); See, also, Maletta v.

   Woodle, No. 2:20-CV-1004-JES-MRM, 2021 WL 1894023 at *5 (M.D. Fla. May 11,

   2021) (“[T]he Court agrees with defendants that he ‘cannot transform a defamation action

   into a claim for intentional infliction of emotional distress.’”); Fridovich v. Fridovich, 598

   So.2d 65, 70 (Fla. 1992) (“In short, regardless of privilege, a plaintiff cannot transform a

   defamation action into a claim for intentional infliction of emotional distress simply by

   characterizing the alleged defamatory statements as “outrageous.”); Ortega Trujillo v.

   Banco Cent. del Ecuador, 17 F.Supp. 2d 1340, 1343 (S.D. Fla. 1998) (“An attempt to state

   a claim for intentional infliction of emotional distress based on the same publication as the

   defamation count must fail.... The claim for intentional infliction of emotional distress must

   stem from outrageous conduct separate from the defamation and not merely “[re]describe

   the tort of libel while characterizing it as ‘outrageous conduct.’”); Kinsman v. Winston,

   2015 WL 12839267 at *5 (M.D. Fla. 2015) (Same); Klayman v. Jud. Watch, Inc., 22 F.

   Supp. 3d 1240, 1256–57 (S.D. Fla. 2014 (Same).



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   V.     Defendant Phelps is not Specifically Alleged to have Done Anything.

          This Complaint is not a masterwork of pleading. In fact, it is nearly impossible to

   determine which Defendant is responsible for publishing which statement. It is, however,

   possible to determine that Defendant Phelps is not alleged to have done anything other

   than be associated with Defendant Kurowski. The Complaint alleges that Phelps is a

   director of one of the two corporate Defendants (i.e., Fight for IL). (Doc. 1 at 6, ¶25). The

   Complaint also includes two bare assertions that Phelps published unspecified defamatory

   statements. (Doc. 1 at 22, ¶94 “[PHELPS] published THE (sic) statements set forth in this

   complaint…”; See, also, Doc. 1 at 4, ¶18). That bare allegation of a publication is not

   sufficient to state a claim against Phelps. See, Happy Tax Franchising, 2020 WL 6946086

   at *5 (“[T]he Second Amended Complaint fails to allege facts sufficient to attribute

   publication of the defamatory statements to any named Defendant.”). Moreover, the

   general allegation is belied by specific allegations through the rest of the Complaint which

   show that Defendant Kurowski was the author and/or publisher of all or most of the

   statements. 9 (Doc. 1 at 5-17). Phelps’ inclusion in this lawsuit appears to be a case of “guilt

   by association” and nothing more.


          WHEREFORE, Defendants move this Court to dismiss the Complaint without

   leave to amend.




   9
     There is some ambiguity about the edgarcountywatchdog.com website. The Complaint
   states that Kurowski registered the domain name. (Doc. 1 at 5, ¶¶ 22, 23). Plaintiffs
   apparently assume that the reader will conclude that Kurowski was also responsible for
   posts to that website. However, the Complaint does not actually make that explicit and the
   Court is left to guess who the author and publisher may be.

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          I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was

   furnished to ROBERT T. HANLON, Esquire [robert@robhanlonlaw.com], 131 East

   Calhoun Street, Woodstock, Illinois 60098, via the CM/ECF System on this 24th day of

   September, 2021.


                                           BENJAMIN, AARONSON, EDINGER &
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